
XVV, Inc., as Assignee of Jean Ganthier, Respondent, 
againstInterboro Insurance Company, Appellant.




Law Office of Jason Tenenbaum, P.C. (Jason Tenenbaum, Esq.), for appellant.
Law Offices Emilia I. Rutigliano, P.C. (Maria Josovich, Esq.), for respondent.

Appeal from an order of the Civil Court of the City of New York, Kings County (Carol Ruth Feinman, J.), entered December 10, 2014, deemed from a judgment of the same court entered January 13, 2016 (see CPLR 5501 [c]). The judgment, entered pursuant to the December 10, 2014 order granting plaintiff's motion for summary judgment and denying defendant's cross motion for summary judgment dismissing the complaint, awarded plaintiff the principal sum of $2,076.64.




ORDERED that the judgment is affirmed, with $25 costs.
In this action by a provider to recover assigned first-party no-fault benefits, defendant appeals from an order of the Civil Court which denied plaintiff's motion for summary judgment and granted defendant's cross motion for summary judgment dismissing the complaint. The appeal is deemed from a judgment entered January 13, 2016 which awarded plaintiff the principal sum of $2,076.64 (see CPLR 5501 [c]).
Contrary to its arguments on appeal, defendant did not raise a triable issue of fact as to whether it had not received all requested verification and, therefore, it did not demonstrate that this action is premature. Defendant's papers do not make any showing that the specific verification at issue, an affidavit of plaintiff's assignor, had ever been requested from plaintiff.
Accordingly, the judgment is affirmed.
PESCE, P.J., ALIOTTA and SOLOMON, JJ., concur.
ENTER:
Paul Kenny
Chief Clerk
Decision Date: October 27, 2017










